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                                                         March 11, 2020

          Honorable Timothy J. Sullivan
          United States District Court
          District of Maryland
          6500 Cherrywood Lane
          Greenbelt, MD 20770

          Re:       United States v. Brian Mark Lemley
                    Case No. TDC 20-CR-033

          Dear Judge Sullivan:

                  I represent Brian Mark Lemley in the above matter. Mr. Lemley first appeared on
          January 16, 2020. On January 21, 2020 the defense waived the right to an immediate detention
          hearing, reserving the right to request a hearing at a later date to set appropriate conditions of
          release.

                  The defense has a proposed release plan to present to the Court that we submit addresses
          any concern about risk of flight or danger to the community. Accordingly, the defense requests
          that the matter be calendared before Your Honor for a detention hearing.

                    Thank you in advance for your attention to this matter.

                                                                 Sincerely,

                                                                 /s/

                                                                 NED SMOCK
                                                                 Assistant Federal Public Defender
